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UN|TED STATES DlSTRlCT COURT
DlSTRlCT OF MASSACHUSETTS

Fg;esenius Medicai Care Hoidingsl lng.
Plaintiff
C|ViL ACT|ON

NO.10-1142 -R S

V.
Amnea| Pharmaceutigals

Defendants

SE! lLEMENT OBDER QF D|§MlSSAL

STEARNSl D. J.
The Court having been advised on 2123/12 that the above-

entitled action has been settled;
iT |S ORDERED that this action is hereby dismissed without costs and without
prejudice to the right of any party, upon good cause shown, to reopen the action within

thirty (30) days if settlement is not consummated

2/23£12
Date

 

(Dismissai Settiement.wpd - 12f98)

